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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

 In re:                                           )
                                                  )     Chapter 11
 Phoenix 1040 LLC,                                )
                                                  )     Case No. 23-11239 (TMH)
                Debtor.                           )
                                                  )
 Tax I.D. No. XX-XXXXXXX                          )
                                                  )
 In re:                                           )     Chapter 11
                                                  )
 AMERIFIRST FINANCIAL, INC.,                      )     Case No. 23-11240 (TMH)
                                                  )
                Debtor.                           )
                                                  )
 Tax I.D. No. XX-XXXXXXX                          )

                         NOTICE OF APPEARANCE AND
                  REQUEST FOR SERVICE OF NOTICES AND PAPERS

          PLEASE TAKE NOTICE that Quinn Emanuel Urquhart & Sullivan, LLP and Potter

Anderson Corroon LLP hereby enter their appearance as counsel to represent RCP Credit

Opportunities Fund Loan SPV (Fund III), L.P. and RCP Customized Credit Fund (Fund-IV-A),

L.P., (collectively “RCP”) in the above-captioned cases (the “Notice of Appearance”) pursuant to

section 1109(b) of title 11 of the United States Code, rules 2002, 3017(a), 9007, and 9010 of the

Federal Rules of Bankruptcy Procedure (as amended, the “Bankruptcy Rules”), and rule 2002-1(d)

of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court

for the District of Delaware, and request that copies of any and all notices and papers filed or

entered in these cases be given to and served upon the following:




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 QUINN EMANUEL URQUHART &                              POTTER ANDERSON & CORROON LLP
 SULLIVAN, LLP                                         Christopher M. Samis (No. 4909)
 Manisha M. Sheth (pro hac vice pending)               L. Katherine Good (No. 5101)
 Patricia B. Tomasco (pro hac vice pending)            Katelin A. Morales (No. 6683)
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         PLEASE TAKE FURTHER NOTICE that this Notice of Appearance constitutes not

only a request for service of the notices and papers referred to in the Bankruptcy Rules specified

above, but also includes, without limitation, a request for service of all orders and notices of any

application, motion, petition, pleading, request, complaint, or demand, whether formal or informal,

whether written or oral, and whether transmitted or conveyed by mail, courier service, hand

delivery, telephone, facsimile transmission, email or otherwise, that (1) affects or seeks to affect

in any way any rights or interests of any creditor or party in interest in these cases, with respect to

(a) the debtors in the above-captioned cases (the “Debtors”) and any related adversary proceedings,

whether currently pending or later commenced, (b) property of the Debtors’ estates, or proceeds

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thereof, in which the Debtors may claim an interest, or (c) property or proceeds thereof in the

possession, custody, or control of others that the Debtors may seek to use, or (2) requires or seeks

to require any act or other conduct by a party in interest.

         PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and any

subsequent appearance, pleading, claim, or suit is not intended nor shall be deemed to waive the

rights of RCP to: (1) have an Article III judge adjudicate in the first instance any case, proceeding,

matter, or controversy as to which a bankruptcy judge may not enter a final order or judgment

consistent with Article III of the United States Constitution; (2) have final orders in a non-core

case, proceeding, matter, or controversy entered only after an opportunity to object to proposed

findings of fact and conclusions of law and a de novo review by a district court judge; (3) trial by

jury in any case, proceeding, matter, or controversy so triable; (4) have the reference withdrawn

by the United States District Court in any case, proceeding, matter, or controversy subject to

mandatory or discretionary withdrawal; or (5) any other rights, claims, actions, defenses, setoffs,

or recoupments to which RCP is or may be entitled under agreements, in law, or in equity, all of

which rights, claims, actions, defenses, setoffs, and recoupments expressly are hereby reserved.

For the avoidance of doubt, filing this Notice of Appearance is not intended as, and shall not be,

RCP’s consent to the entry of final orders and judgments in any case, proceeding, matter, or

controversy if it is determined that the Court, absent consent of RCP cannot enter final orders or

judgments consistent with Article III of the United States Constitution.



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 Dated: August 26, 2023        POTTER ANDERSON & CORROON LLP
        Wilmington, Delaware
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